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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                        FILED
                                                                                   IN OPEN COURT
                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division


 UNITED STATES OF AMERICA                                                     CLERK, U.S. DISTRICT COURT
                                                                                 ALEXANDRIA. VIRGINIA

         V.                                              Case No. l:19-cr-


 ALBERTO RODRIGUEZ,
 a/k/a "Forty"
 a/k/a"40"
 a/k/a "Mike"


        Defendant.



                                    PLEA AGREEMENT


        G.Zachary Terwilliger, United States Attorney for the Eastern District of Virginia;

Lena Munasifi, Special Assistant United States Attorney(LT);the defendant, Alberto

Rodriguez, and the defendant's counsel have entered into an agreement pursuant to Rule 11 of

the Federal Rules of Criminal Procedure. The terms ofthe agreement are as follows:

       1.       Offense and Maximum Penalties


       The defendant agrees to waive indictment and plead guilty to a one-count criminal

information charging the defendant with conspiracy to distiibute 5 kilograms or more of

cocaine, in violation ofTitle 21, United States Code, Sections 841(a)(1) and 846. The

maximum penalties for the offense charged in the criminal information are a mandatory

minimum term ofimprisonment of 10 years, a maximum term oflife imprisonment, a fine of

$10,000,000, forfeiture of assets as outlined below,special assessments pursuant to 18 U.S.C.

§ 3013,and at least 5 years ofsupervised release. The defendant understands that this

supervised release term is in addition to any prison term the defendant may receive, and that a
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